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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAHUL MANCHANDA,
                                                   CIVIL ACTION NO. 1:19-cv-05121 (WHP)
                       Plaintiff,
                                                                      Civil Action
        v.

EDUCATIONAL CREDIT MANAGEMENT
CORPORATION,

                       Defendant.



                          NOTICE TO PRO SE LITIGANT
                   WHO OPPOSES A MOTION FOR SUMMARY JUDGMENT


        The defendant in this case has moved for summary judgment pursuant to Rule 56 of the
Federal Rules of Civil Procedure. This means that the defendant has asked the Court to decide
this case without a trial, based on written materials, including affidavits, submitted in support of
the motion. THE CLAIMS YOU ASSERT IN YOUR COMPLAINT MAY BE DISMISSED
WITHOUT A TRIAL IF YOU DO NOT RESPOND TO THIS MOTION ON TIME by filing
sworn affidavits and/or other documents as required by Rule 56(c) of the Federal Rules of Civil
Procedure and by Local Civil Rule 56.1. The full text of Rule 56 of the Federal Rules of Civil
Procedure and Local Civil Rule 56.1 is attached.

        In short, Rule 56 provides that you may NOT oppose summary judgment simply by
relying upon the allegations in your complaint. Rather, you must submit evidence, such as
witness statements or documents, countering the facts asserted by the defendant and raising
specific facts that support your claim. If you have proof of your claim, now is the time to submit
it. Any witness statements must be in the form of affidavits. An affidavit is a sworn statement of
fact based on personal knowledge stating facts that would be admissible in evidence at trial. You
may submit your own affidavit and/or the affidavits of others. You may submit affidavits that
were prepared specifically in response to defendant’s motion for summary judgment.
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        If you do not respond to the motion for summary judgment on time with affidavits and/or
documents contradicting the material facts asserted by the defendant, the Court may accept
defendant’s facts as true. Your case may be dismissed and judgment may be entered in
defendant’s favor without a trial. If you have any questions, you may direct them to the Pro Se
Office.


Dated: Hackensack, New Jersey
       May 25, 2021

                                                   LAW OFFICES OF KENNETH L. BAUM
                                                   LLC
                                                   Attorneys for Defendant Educational Credit
                                                   Management Corporation


                                                   By:    /s/ Kenneth L. Baum
                                                          Kenneth L. Baum




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       Federal Rule of Civil Procedure 56.
       Summary Judgment

(a) MOTION FOR SUMMARY JUDGMENT OR PARTIAL SUMMARY JUDGMENT. A party may move for
summary judgment, identifying each claim or defense — or the part of each claim or defense —
on which summary judgment is sought. The court shall grant summary judgment if the movant
shows that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law. The court should state on the record the reasons for granting or
denying the motion.
(b) TIME TO FILE A MOTION. Unless a different time is set by local rule or the court orders
otherwise, a party may file a motion for summary judgment at any time until 30 days after the
close of all discovery.
(c) PROCEDURES.
     (1) Supporting Factual Positions. A party asserting that a fact cannot be or is genuinely
  disputed must support the assertion by:
        (A) citing to particular parts of materials in the record, including depositions, documents,
     electronically stored information, affidavits or declarations, stipulations (including those
     made for purposes of the motion only), admissions, interrogatory answers, or other
     materials; or
        (B) showing that the materials cited do not establish the absence or presence of a genuine
     dispute, or that an adverse party cannot produce admissible evidence to support the fact.
    (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party may object that
  the material cited to support or dispute a fact cannot be presented in a form that would be
  admissible in evidence.
    (3) Materials Not Cited. The court need consider only the cited materials, but it may
  consider other materials in the record.
    (4) Affidavits or Declarations. An affidavit or declaration used to support or oppose a
  motion must be made on personal knowledge, set out facts that would be admissible in
  evidence, and show that the affiant or declarant is competent to testify on the matters stated.
(d) WHEN FACTS ARE UNAVAILABLE TO THE NONMOVANT. If a nonmovant shows by affidavit or
declaration that, for specified reasons, it cannot present facts essential to justify its opposition,
the court may:
     (1) defer considering the motion or deny it;
     (2) allow time to obtain affidavits or declarations or to take discovery; or
     (3) issue any other appropriate order.


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(e) FAILING TO PROPERLY SUPPORT OR ADDRESS A FACT. If a party fails to properly support an
assertion of fact or fails to properly address another party’s assertion of fact as required by Rule
56(c), the court may:
     (1) give an opportunity to properly support or address the fact;
     (2) consider the fact undisputed for purposes of the motion;
    (3) grant summary judgment if the motion and supporting materials — including the facts
  considered undisputed — show that the movant is entitled to it; or
     (4) issue any other appropriate order.
(f) JUDGMENT INDEPENDENT OF THE MOTION. After giving notice and a reasonable time to
respond, the court may:
     (1) grant summary judgment for a nonmovant;
     (2) grant the motion on grounds not raised by a party;or
     (3) consider summary judgment on its own after identifying for the parties material facts
  that may not be genuinely in dispute.
(g) FAILING TO GRANT ALL THE REQUESTED RELIEF. If the court does not grant all the relief
requested by the motion, it may enter an order stating any material fact — including an item of
damages or other relief — that is not genuinely in dispute and treating the fact as established in
the case.
(h) AFFIDAVIT OR DECLARATION SUBMITTED IN BAD FAITH. If satisfied that an affidavit or
declaration under this rule is submitted in bad faith or solely for delay, the court — after notice
and a reasonable time to respond — may order the submitting party to pay the other party the
reasonable expenses, including attorney’s fees, it incurred as a result. An offending party or
attorney may also be held in contempt or subjected to other appropriate sanctions.




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   Local Civil Rule 56.1. Statements of Material Facts on Motion for Summary Judgment
   a) Upon any motion for summary judgment pursuant to Rule 56 of the Federal Rules of Civil
Procedure, there shall be annexed to the notice of motion a separate, short and concise statement,
in numbered paragraphs, of the material facts as to which the moving party contends there is no
genuine issue to be tried. Failure to submit such a statement may constitute grounds for denial of
the motion.
   (b) The papers opposing a motion for summary judgment shall include a correspondingly
numbered paragraph responding to each numbered paragraph in the statement of the moving
party, and if necessary, additional paragraphs containing a separate, short and concise statement
of additional material facts as to which it is contended that there exists a genuine issue to be
tried.
   (c) Each numbered paragraph in the statement of material facts set forth in the statement
required to be served by the moving party will be deemed to be admitted for purposes of the
motion unless specifically controverted by a correspondingly numbered paragraph in the
statement required to be served by the opposing party.
   (d) Each statement by the movant or opponent pursuant to Rule 56.1(a) and (b), including each
statement controverting any statement of material fact, must be followed by citation to evidence
which would be admissible, set forth as required by Fed. R. Civ. P. 56(c).




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